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    8 RIVERSIDE, AND DEPUTY ROBERT
        ROMERO
    9
                                    UNITED STATES DISTRICT COURT
   10
                                  CENTRAL DISTRICT OF CALIFORNIA
   11

   12
        MARK GALVAN, an individual                     Case No. 5:21-cv-00384-JGB (SHK)
   13
                           Plaintiff,                  [Assigned to District Judge, Jesus G.
   14                                                  Bernal, Magistrate Judge, Shashi H.
                  v.                                   Kewalramani]
   15
        COUNTY OF RIVERSIDE; ROBERT
   16 ROMERO, and DOES 1-10, inclusive,                STIPULATED PROTECTIVE
                                                       ORDER
   17                      Defendants.
                                                       DISCOVERY MATTER
   18

   19

   20

   21 1.         A. PURPOSES AND LIMITATIONS
   22            Discovery in this action is likely to involve production of confidential,
   23 proprietary, or private information for which special protection from public

   24 disclosure and from use for any purpose other than prosecuting this litigation may

   25 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to

   26 enter the following Stipulated Protective Order. The parties acknowledge that this

   27 Order does not confer blanket protections on all disclosures or responses to

   28 discovery and that the protection it affords from public disclosure and use extends

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    1 only to the limited information or items that are entitled to confidential treatment

    2 under the applicable legal principles. The parties further acknowledge, as set forth in

    3 Section 12.3, below, that this Stipulated Protective Order does not entitle them to

    4 file confidential information under seal; Civil Local Rule 79-5 sets forth the

    5 procedures that must be followed and the standards that will be applied when a party

    6 seeks permission from the court to file material under seal.

    7            B. GOOD CAUSE STATEMENT
    8            This action is likely to involve law enforcement operations records, police
    9 reports, investigative reports, law enforcement personnel records, medical records

   10 and/or proprietary information for which special protection from public disclosure

   11 and from use for any purpose other than prosecution of this action is warranted.

   12 Such confidential and proprietary materials and information consist of, among other

   13 things, law enforcement operations records, police reports, investigative reports, law

   14 enforcement personnel records, medical records , information regarding confidential

   15 practices, or other information (including information implicating privacy rights of

   16 third parties), information otherwise generally unavailable to the public, or which

   17 may be privileged or otherwise protected from disclosure under state or federal

   18 statutes, court rules, case decisions, or common law. Accordingly, to expedite the

   19 flow of information, to facilitate the prompt resolution of disputes over

   20 confidentiality of discovery materials, to adequately protect information the parties

   21 are entitled to keep confidential, to ensure that the parties are permitted reasonable

   22 necessary uses of such material in preparation for and in the conduct of trial, to

   23 address their handling at the end of the litigation, and serve the ends of justice, a

   24 protective order for such information is justified in this matter. It is the intent of the

   25 parties that information will not be designated as confidential for tactical reasons

   26 and that nothing be so designated without a good faith belief that it has been

   27 maintained in a confidential, non-public manner, and there is good cause why it

   28 should not be part of the public record of this case.

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    1 2.         DEFINITIONS
    2            2.1       Action: Mark Galvan v. County of Riverside, et al. [Case No. 5:21-
    3 CV-00384-JGB(SHK).]

    4            2.2       Challenging Party: a Party or Non-Party that challenges the
    5            designation of information or items under this Order.
    6            2.3       “CONFIDENTIAL” Information or Items: information (regardless of
    7 how it is generated, stored or maintained) or tangible things that qualify for

    8 protection under Federal Rule of Civil Procedure 26(c) and/or applicable federal

    9 privileges, and as specified above in the Good Cause Statement. This material

   10 includes, but is not limited to, medical records, psychotherapeutic records, and

   11 autopsy photographs; as well as peace officer personnel records as defined by

   12 California Penal Code sections 832.8, 832.5, 832.7 and the associated case law; and

   13 other similar confidential records designated as such.

   14            2.4       Counsel: Outside Counsel of Record and House Counsel (as well as
   15 their support staff).

   16            2.5       Designating Party: a Party or Non-Party that designates information or
   17 items that it produces in disclosures or in responses to discovery as

   18 “CONFIDENTIAL.”

   19            2.6       Disclosure or Discovery Material: all items or information, regardless
   20 of the medium or manner in which it is generated, stored, or maintained (including,

   21 among other things, testimony, transcripts, and tangible things), that are produced or

   22 generated in disclosures or responses to discovery in this matter.

   23            2.7       Expert: a person with specialized knowledge or experience in a matter
   24 pertinent to the litigation who has been retained by a Party or its counsel to serve as

   25 an expert witness or as a consultant in this Action.

   26            2.8       House Counsel: attorneys who are employees of a party to this Action.
   27            House Counsel does not include Outside Counsel of Record or any other
   28 outside counsel.

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    1            2.9       Non-Party: any natural person, partnership, corporation, association, or
    2 other legal entity not named as a Party to this action.

    3            2.10 Outside Counsel of Record: attorneys who are not employees of a party
    4 to this Action but are retained to represent or advise a party to this Action and have

    5 appeared in this Action on behalf of that party or are affiliated with a law firm which

    6 has appeared on behalf of that party, and includes support staff.

    7            2.11 Party: any party to this Action, including all of its officers, directors,
    8 employees, consultants, retained experts, and Outside Counsel of Record (and their

    9 support staffs).

   10            2.12 Producing Party: a Party or Non-Party that produces Disclosure or
   11 Discovery Material in this Action.

   12            2.13 Professional Vendors: persons or entities that provide litigation support
   13 services (e.g., photocopying, videotaping, translating, preparing exhibits or

   14 demonstrations, and organizing, storing, or retrieving data in any form or medium)

   15 and their employees and subcontractors.

   16            2.14 Protected Material: any Disclosure or Discovery Material that is
   17 designated as “CONFIDENTIAL.”

   18            2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
   19 from a Producing Party, including a Party that has noticed or subpoenaed and is

   20 taking a deposition or comparable testimony.

   21 3.         SCOPE
   22            The protections conferred by this Stipulation and Order cover not only
   23 Protected Material (as defined above), but also (1) any information copied or

   24 extracted from Protected Material; (2) all copies, excerpts, summaries, or

   25 compilations of Protected Material; and (3) any testimony, conversations, or

   26 presentations by Parties or their Counsel that might reveal Protected Material.

   27            Any use of Protected Material at trial shall be governed by the orders of the
   28 trial judge. This Order does not govern the use of Protected Material at trial.

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    1 4.         DURATION
    2            Even after final disposition of this litigation, the confidentiality obligations
    3 imposed by this Order shall remain in effect until a Designating Party agrees

    4 otherwise in writing or a court order otherwise directs. Final disposition shall be

    5 deemed to be the later of (1) dismissal of all claims and defenses in this Action, with

    6 or without prejudice; and (2) final judgment herein after the completion and

    7 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,

    8 including the time limits for filing any motions or applications for extension of time

    9 pursuant to applicable law.

   10 5.         DESIGNATING PROTECTED MATERIAL
   11            5.1       Exercise of Restraint and Care in Designating Material for Protection.
   12 Each Party or Non-Party that designates information or items for protection under

   13 this Order must take care to limit any such designation to specific material that

   14 qualifies under the appropriate standards. The Designating Party must designate for

   15 protection only those parts of material, documents, items, or oral or written

   16 communications that qualify so that other portions of the material, documents,

   17 items, or communications for which protection is not warranted are not swept

   18 unjustifiably within the ambit of this Order.

   19            Mass, indiscriminate, or routinized designations are prohibited. Designations
   20 that are shown to be clearly unjustified or that have been made for an improper

   21 purpose (e.g., to unnecessarily encumber the case development process or to impose

   22 unnecessary expenses and burdens on other parties) may expose the Designating

   23 Party to sanctions.

   24            If it comes to a Designating Party’s attention that information or items that it
   25 designated for protection do not qualify for protection, that Designating Party must

   26 promptly notify all other Parties that it is withdrawing the inapplicable designation.

   27            5.2       Manner and Timing of Designations. Except as otherwise provided in
   28 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise

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    1 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection

    2 under this Order must be clearly so designated before the material is disclosed or

    3 produced.

    4            Designation in conformity with this Order requires:
    5            (a)       for information in documentary form (e.g., paper or electronic
    6 documents, but excluding transcripts of depositions or other pretrial or trial

    7 proceedings), that the Producing Party affix at a minimum, the legend

    8 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that

    9 contains protected material. If only a portion or portions of the material on a page

   10 qualifies for protection, the Producing Party also must clearly identify the protected

   11 portion(s) (e.g., by making appropriate markings in the margins).

   12            A Party or Non-Party that makes original documents available for inspection
   13 need not designate them for protection until after the inspecting Party has indicated

   14 which documents it would like copied and produced. During the inspection and

   15 before the designation, all of the material made available for inspection shall be

   16 deemed “CONFIDENTIAL.” After the inspecting Party has identified the

   17 documents it wants copied and produced, the Producing Party must determine which

   18 documents, or portions thereof, qualify for protection under this Order. Then, before

   19 producing the specified documents, the Producing Party must affix the

   20 “CONFIDENTIAL legend” to each page that contains Protected Material. If only a

   21 portion or portions of the material on a page qualifies for protection, the Producing

   22 Party also must clearly identify the protected portion(s) (e.g., by making appropriate

   23 markings in the margins).

   24            (b)       for testimony given in depositions that the Designating Party identify
   25 the Disclosure or Discovery Material on the record, before the close of the

   26 deposition all protected testimony.

   27            (c)       for information produced in some form other than documentary and for
   28 any other tangible items, that the Producing Party affix in a prominent place on the

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    1 exterior of the container or containers in which the information is stored the legend

    2 “CONFIDENTIAL.” If only a portion or portions of the information warrants

    3 protection, the Producing Party, to the extent practicable, shall identify the protected

    4 portion(s).

    5            5.3       Inadvertent Failures to Designate. If timely, an inadvertent failure to
    6 designate qualified information or items does not, standing alone, waive the

    7 Designating Party’s right to secure protection under this Order for such material.

    8 Upon timely correction of a designation, the Receiving Party must make reasonable

    9 efforts to assure that the material is treated in accordance with the provisions of this

   10 Order.

   11 6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS
   12            6.1       Timing of Challenges. Any Party or Non-Party may challenge a
   13 designation of confidentiality at any time that is consistent with the Court’s

   14 Scheduling Order.

   15            6.2       Meet and Confer. The Challenging Party shall initiate the dispute
   16 resolution process under Local Rule 37.1 et seq.

   17            6.3       The burden of persuasion in any such challenge proceeding shall be on
   18 the Designating Party. Frivolous challenges, and those made for an improper

   19 purpose (e.g., to harass or impose unnecessary expenses and burdens on other

   20 parties) may expose the Challenging Party to sanctions. Unless the Designating

   21 Party has waived or withdrawn the confidentiality designation, all parties shall

   22 continue to afford the material in question the level of protection to which it is

   23 entitled under the Producing Party’s designation until the Court rules on the

   24 challenge.

   25 7.         ACCESS TO AND USE OF PROTECTED MATERIAL
   26            7.1       Basic Principles. A Receiving Party may use Protected Material that is
   27 disclosed or produced by another Party or by a Non-Party in connection with this

   28 Action only for prosecuting, defending, or attempting to settle this Action. Such

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    1 Protected Material may be disclosed only to the categories of persons and under the

    2 conditions described in this Order. When the Action has been terminated, a

    3 Receiving Party must comply with the provisions of section 13 below (FINAL

    4 DISPOSITION).

    5            Protected Material must be stored and maintained by a Receiving Party at a
    6 location and in a secure manner that ensures that access is limited to the persons

    7 authorized under this Order.

    8            7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless
    9 otherwise ordered by the court or permitted in writing by the Designating Party, a

   10 Receiving Party may disclose any information or item designated

   11 “CONFIDENTIAL” only to:

   12            (a)       the Receiving Party’s Outside Counsel of Record in this Action, as well
   13 as employees of said Outside Counsel of Record to whom it is reasonably necessary

   14 to disclose the information for this Action;

   15            (b)       the officers, directors, and employees (including House Counsel) of the
   16 Receiving Party to whom disclosure is reasonably necessary for this Action;

   17            (c)       Experts (as defined in this Order) of the Receiving Party to whom
   18 disclosure is reasonably necessary for this Action and who have signed the

   19 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

   20            (d)       the court and its personnel;
   21            (e)       court reporters and their staff;
   22            (f)       professional jury or trial consultants, mock jurors, and Professional
   23 Vendors to whom disclosure is reasonably necessary for this Action and who have

   24 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

   25            (g)       the author or recipient of a document containing the information or a
   26 custodian or other person who otherwise possessed or knew the information;

   27            (h)       during their depositions, witnesses ,and attorneys for witnesses, in the
   28 Action to whom disclosure is reasonably necessary provided: (1) the deposing party

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    1 requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will

    2 not be permitted to keep any confidential information unless they sign the

    3 “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise

    4 agreed by the Designating Party or ordered by the court. Pages of transcribed

    5 deposition testimony or exhibits to depositions that reveal Protected Material may

    6 be separately bound by the court reporter and may not be disclosed to anyone except

    7 as permitted under this Stipulated Protective Order; and

    8            (i)       any mediator or settlement officer, and their supporting personnel,
    9 mutually agreed upon by any of the parties engaged in settlement discussions.

   10 8.         PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   11 IN OTHER LITIGATION

   12            If a Party is served with a subpoena or a court order issued in other litigation
   13 that compels disclosure of any information or items designated in this Action as

   14 “CONFIDENTIAL,” that Party must:

   15            (a)       promptly notify in writing the Designating Party. Such notification
   16 shall include a copy of the subpoena or court order;

   17            (b)       promptly notify in writing the party who caused the subpoena or order
   18 to issue in the other litigation that some or all of the material covered by the

   19 subpoena or order is subject to this Protective Order. Such notification shall include

   20 a copy of this Stipulated Protective Order; and

   21            (c)       cooperate with respect to all reasonable procedures sought to be
   22 pursued by the Designating Party whose Protected Material may be affected.

   23            If the Designating Party timely seeks a protective order, the Party served with
   24 the subpoena or court order shall not produce any information designated in this

   25 action as “CONFIDENTIAL” before a determination by the court from which the

   26 subpoena or order issued, unless the Party has obtained the Designating Party’s

   27 permission. The Designating Party shall bear the burden and expense of seeking

   28 protection in that court of its confidential material and nothing in these provisions

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    1 should be construed as authorizing or encouraging a Receiving Party in this Action

    2 to disobey a lawful directive from another court.

    3 9.         A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    4 PRODUCED IN THIS LITIGATION

    5            (a)       The terms of this Order are applicable to information produced by a
    6 Non-Party in this Action and designated as “CONFIDENTIAL.” Such information

    7 produced by Non-Parties in connection with this litigation is protected by the

    8 remedies and relief provided by this Order. Nothing in these provisions should be

    9 construed as prohibiting a Non-Party from seeking additional protections.

   10            (b)       In the event that a Party is required, by a valid discovery request, to
   11 produce a Non-Party’s confidential information in its possession, and the Party is

   12 subject to an agreement with the Non-Party not to produce the Non-Party’s

   13 confidential information, then the Party shall:

   14            (1)       promptly notify in writing the Requesting Party and the Non-Party that
   15 some or all of the information requested is subject to a confidentiality agreement

   16 with a Non-Party;

   17            (2)       promptly provide the Non-Party with a copy of the Stipulated
   18 Protective Order in this Action, the relevant discovery request(s), and a reasonably

   19 specific description of the information requested; and

   20            (3)       make the information requested available for inspection by the Non-
   21 Party, if requested.

   22            (c)       If the Non-Party fails to seek a protective order from this court within
   23 14 days of receiving the notice and accompanying information, the Receiving Party

   24 may produce the Non-Party’s confidential information responsive to the discovery

   25 request. If the Non-Party timely seeks a protective order, the Receiving Party shall

   26 not produce any information in its possession or control that is subject to the

   27 confidentiality agreement with the Non-Party before a determination by the court.

   28 Absent a court order to the contrary, the Non-Party shall bear the burden and

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    1 expense of seeking protection in this court of its Protected Material.

    2 10.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    3            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
    4 Protected Material to any person or in any circumstance not authorized under this

    5 Stipulated Protective Order, the Receiving Party must immediately (a) notify in

    6 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts

    7 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or

    8 persons to whom unauthorized disclosures were made of all the terms of this Order,

    9 and (d) request such person or persons to execute the “Acknowledgment and

   10 Agreement to Be Bound” that is attached hereto as Exhibit A.

   11 11.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   12 PROTECTED MATERIAL

   13            When a Producing Party gives notice to Receiving Parties that certain
   14 inadvertently produced material is subject to a claim of privilege or other protection,

   15 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil

   16 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure

   17 may be established in an e-discovery order that provides for production without

   18 prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar

   19 as the parties reach an agreement on the effect of disclosure of a communication or

   20 information covered by the attorney-client privilege or work product protection, the

   21 parties may incorporate their agreement in the stipulated protective order submitted

   22 to the court.

   23 12.        MISCELLANEOUS
   24            12.1 Right to Further Relief. Nothing in this Order abridges the right of any
   25 person to seek its modification by the Court in the future.

   26            12.2 Right to Assert Other Objections. By stipulating to the entry of this
   27 Protective Order no Party waives any right it otherwise would have to object to

   28 disclosing or producing any information or item on any ground not addressed in this

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    1 Stipulated Protective Order. Similarly, no Party waives any right to object on any

    2 ground to use in evidence of any of the material covered by this Protective Order.

    3            12.3 Filing Protected Material. A Party that seeks to file under seal any
    4 Protected Material must comply with Civil Local Rule 79-5. Protected Material may

    5 only be filed under seal pursuant to a court order authorizing the sealing of the

    6 specific Protected Material at issue. If a Party's request to file Protected Material

    7 under seal is denied by the court, then the Receiving Party may file the information

    8 in the public record unless otherwise instructed by the court.

    9 13.        FINAL DISPOSITION
   10            After the final disposition of this Action, as defined in paragraph 4, within 60
   11 days of a written request by the Designating Party, each Receiving Party must return

   12 all Protected Material to the Producing Party or destroy such material. As used in

   13 this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

   14 summaries, and any other format reproducing or capturing any of the Protected

   15 Material. Whether the Protected Material is returned or destroyed, the Receiving

   16 Party must submit a written certification to the Producing Party (and, if not the same

   17 person or entity, to the Designating Party) by the 60 day deadline that (1) identifies

   18 (by category, where appropriate) all the Protected Material that was returned or

   19 destroyed and (2) affirms that the Receiving Party has not retained any copies,

   20 abstracts, compilations, summaries or any other format reproducing or capturing any

   21 of the Protected Material. Notwithstanding this provision, Counsel are entitled to

   22 retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing

   23 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert

   24 reports, attorney work product, and consultant and expert work product, even if such

   25 materials contain Protected Material. Any such archival copies that contain or

   26 constitute Protected Material remain subject to this Protective Order as set forth in

   27 Section 4 (DURATION).

   28            14. Any violation of this Order may be punished by any and all appropriate
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    1 measures including, without limitation, contempt proceedings and/or monetary

    2 sanctions.

    3 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

    4

    5

    6 DATED: October 1, 2021             MANNING & KASS
    7
                                         ELLROD, RAMIREZ, TRESTER LLP

    8

    9
                                         By:         /s/ Steven A. McNicholl
   10                                          Angela M. Powell
   11                                          Steven A. McNicholl
                                               Attorneys for Defendant, COUNTY OF
   12                                          RIVERSIDE, AND DEPUTY ROBERT
   13                                          ROMERO

   14

   15 DATED: October 1, 2021             LAW OFFICES OF DALE K. GALIPO;
   16                                    LAW OFFICES OF GRECH & PACKER
   17

   18
                                         By:         /s/ Dale K. Galipo, Esq.
   19
                                                  Dale K. Galipo, Esq.
   20                                             Trenton C. Packer, Esq.
                                               Attorneys for Plaintiffs,
   21
                                               MARK GALVAN
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    1                                      Signature Attestation
    2            Pursuant to C.D. Cal. Local Rule 5-4.3.4(a)(2)(i), the undersigned hereby
    3 certify that the content of this document is acceptable to all parties listed above, by

    4 and through their counsel of record, and that each has obtained authorization from

    5 each party’s counsel to affix their electronic signatures to this document.

    6

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    8                                       By:         /s/ Steven A. McNicholl
    9                                             Steven A. McNicholl

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    2 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

    3

               10/1/2021
    4 Dated: _______________________

    5                                       Hon. Shashi H. Kewalramani
                                            United States Magistrate Judge
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    1                                           EXHIBIT A
    2                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3            I, ____________________________________ [print or type full name], of
    4 ___________________ [print or type full address], declare under penalty of perjury

    5 that I have read in its entirety and understand the Stipulated Protective Order that

    6 was issued by the United States District Court for the Central District of California

    7 on [date] in the case of_________________ [insert formal name of the case and the

    8 number and initials assigned to it by the court]. I agree to comply with and to be

    9 bound by all the terms of this Stipulated Protective Order and I understand and

   10 acknowledge that failure to so comply could expose me to sanctions and punishment

   11 in the nature of contempt. I solemnly promise that I will not disclose in any manner

   12 any information or item that is subject to this Stipulated Protective Order to any

   13 person or entity except in strict compliance with the provisions of this Order.

   14            I further agree to submit to the jurisdiction of the United States District Court
   15 for the Central District of California for the purpose of enforcing the terms of this

   16 Stipulated Protective Order, even if such enforcement proceedings occur after

   17 termination of this action. I hereby appoint ____________________________ [print

   18 or type full name] of _______________________________________ [print or type

   19 full address and telephone number] as my California agent for service of process in

   20 connection with this action or any proceedings related to enforcement of this

   21 Stipulated Protective Order.

   22 Date:_______________________________________

   23 City and State where sworn and signed: _____________________________

   24 Printed name: ______________________________

   25 Signature: _________________________________

   26

   27

   28

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